Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 1 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

A.B.-B.; S.B.-B., a minor; M.A.G.-M; D.G.M.-G., a
minor; L.E.-L.; [.L.E.-L., a minor; A.P.-S.; E.L.R.-S, a So
minor; A.A.R.-S., a minor; B.J.R.-S., a minor; and —_
WEES. 8 minor Case: 1:20-cv-00846 JURY DEMAND
Plaintiffs) Assigned To : Jackson, Amy Berman
Vv.

. Assign. Date : 3/27/2020
Mark A. Morgan, Acting Commissioner, USCBP; Chad F. Wolf, Description: Gen. Civ. (E-DECK)
Putative Acting Secretary, DHS; Kenneth T. Cuccinelli, Senior /

Official Performing the Duties of the Director, USCIS; Andrew J.
Davidson, Acting Division Chief, USCIS; William P. Barr,

Attorney General ~

4b 4 AAA aaa

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) William P. Barr, Attorney General of the United States
Office of the Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 90530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Julie Carpenter

TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falis Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 2 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

[1 I personally served the summons on the individual at (place)

 

on (date) ; Or

 

[1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
1 I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 3 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Columbia

A.B.-B.; S.B.-B., a minor; M.A.G.-M; D.G.M.-G., a
minor; L.E.-L.; |.1.E.-L., a minor; A.P.-S.; E.L.R.-S, a
minor; A.A.R.-S., a minor; B.J.R.-S., a minor; and
W.G.L.-S., a minor.

 

Plaintiff(s)

V Civil Action No.

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3 XWWYHS FWQ 6 EFURNDY 0 + 6 00 HQQE7 (XFFIQHONI6 HRW
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' DYIGKRONS FWY 1) IIMROZKIH IB 6&, 600 IEP 3 mea

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) William P. Barr, Attorney General of the United States
c/o Lee J. Lofthus, Assistant Attorney General for Administration, Justice Management
Division
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Julie Carpenter

TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falls Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 4 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

 

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© I personally served the summons on the individual at (place)

 

on (date) ; Or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
(1 I returned the summons unexecuted because ; or
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 5 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COUR

 

 

for the .
District of Columbia
A.B.-B.; S.B.-B., a minor; M.A.G.-M; D.G.M.-G., a )
minor; L.E.-L.; |.1.E.-L., a minor; A.P.-S.; E.L.R.-S, a )
minor; A.A.R.-S., a minor; B.J.R.-S., a minor; and ) — 0846 JURY DEMAND
W.G.L.-S., a minor ) Case. 1:20-cv-0 Amy Berman
Plaintiffs) } Assigned To : Jackson
‘s ) Assign. Dale <2 civ, (E-DECK)
Mark A. Morgan, Acting Commissioner, USCBP; Chad F. Wolf, Description: Gen. -
Putative Acting Secretary, DHS; Kenneth T. Cuccinelli, Senior ) ;
Official Performing the Duties of the Director, USCIS; Andrew J. )
Davidson, Acting Division Chief, USCIS; William P. Barr, )
Attorney General )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KENNETH T. CUCCINELLI, Senior Official Performing the Duties of the Director,
United States Citizenship and Immigration Services
c/o Office of the General Counsel
U.S. Department of Homeland Security
Washington, D.C. 20528

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Julie Carpenter

TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falls Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 6 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

C1 I personally served the summons on the individual at (place)

 

on (date) . 30or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
C I returned the summons unexecuted because ; or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 7 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Columbia
AB.-B.; §.B.-B., a minor; M.A.G.-M; D.G.M.-G., a )
minor; L.E.-L.; |.IE.-L., a minor; A.P.-S.; E.L.R.-S, a )
minor; A.A.R.-S., a minor; B.J.R.-S., a minor; and )
W.G.L.-S., a minor ) Case: 1:20-cv-—00846 JURY DEMAND
Plaintiff(s) ) Assigned To : Jackson, Amy Berman
v. ) Assign. Date : 3/27/2020

Mark A. Morgan, Acting Commissioner, USCBP; Chad F. Wolf, ) _ Description: Gen. Civ. (E-DECK)
Putative Acting Secretary, DHS; Kenneth T. Cuccinelli, Senior )
Official Performing the Duties of the Director, USCIS; Andrew J. )
Davidson, Acting Division Chief, USCIS; William P. Barr, )
Attorney General )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Andrew Davidson, Acting Division Chief of United States Citizenship and Immigration
Services Asylum Division
c/o Office of the General Counsel
U.S. Department of Homeland Security
Washington, D.C. 20528

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Julie Carpenter

TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falls Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 8 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any)

 

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© I personally served the summons on the individual at (place)

 

on (date) ; or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

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My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 9 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Columbia
AB.-B.; S.B.-B., a minor; M.A.G.-M; D.G.M.-G., a )
minor; L.E.-L.; 1..E.-L., a minor; A.P.-S.; E.L.R.-S, a )
minor; A.A.R.-S., a minor; B.J.R.-S., a minor; and )
WGE-S. a minor } Case: 1:20-cv-00846 JURY DEMAND
Plaintiff(s) ) Assigned To : Jackson, Amy Berman
v. SCBP: Chad F. Wolf ) Assign. Date : 3/27/2020
Mark A. Morgan, Acting Commissioner, U P; Chad F. Wolf, sg . -DECK

Putative Acting Secretary, DHS; Kenneth T. Cuccinelli, Senior ) Description: Gen. Civ. (E )
Official Performing the Duties of the Director, USCIS; Andrew J. )
Davidson, Acting Division Chief, USCIS; William P. Barr, )
Attorney General )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) MARK A. MORGAN, Acting Commissioner, United States Customs and Border
Protection ,
c/o Office of the General Counsel
U.S. Department of Homeland Security
Washington, D.C. 20528

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Julie Carpenter

TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falls Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 10 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

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on (date) , and mailed a copy to the individual’s last known address; or

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designated by law to accept service of process on behalf of (name of organization)

 

 

 

On (date) > Or
1 [ returned the summons unexecuted because ; Or
Other (specify):
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Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 11 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

 

A.B.-B.; S.B.-B., a minor; M.A.G.-M; D.G.M.-G., a
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minor; A.A.R.-S., a minor; B.J.R.-S., a minor; and
W.G.L.-S., a minor Case: 1:20-cv-00846 JURY DEMAND
Plaintiffs) Assigned To : Jackson, Amy Berman
v. Assign. Date : 3/27/2020

Mark A. Morgan, Acting Commissioner, USCBP; Chad F. Wolf, Description: Gen. Civ. (E-DECK)

Putative Acting Secretary, DHS; Kenneth T. Cuccinelli, Senior
Official Performing the Duties of the Director, USCIS; Andrew J.
Davidson, Acting Division Chief, USCIS; William P. Barr,
Attorney General

 

Nowe Nome Nee Nee Neue Nee Nee Nee” eee Nee nee” Nene”

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Civil Process Clerk
United States Attorney's Office
555 Fourth Street, N.W.,
Washington, D.C. 20530

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Julie Carpenter

TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falls Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 12 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
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on (date). . , and mailed a copy to the individual’s last known address; or

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designated by law to accept service of process on behalf of (name of organization)

 

 

 

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1 I returned the summons unexecuted because 5 or
Cl Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

y

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 13 of 14

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

 

A.B.-B.; S.B.-B., a minor; M.A.G.-M; D.G.M.-G., a
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Foon a ee amino non and Case: 1:20-cv-00846 JURY DEMAND
Plaintiff) Assigned To : Jackson, Amy Berman
V Assign. Date : 3/27/2020

Mark A. Morgan, Acting Commissioner, USCBP; Chad F. Wolf, Description: Gen. Civ. (E-DECK)

Putative Acting Secretary, DHS; Kenneth T. Cuccinelli, Senior
Official Performing the Duties of the Director, USCIS; Andrew J.
Davidson, Acting Division Chief, USCIS; William P. Barr,
Attorney General

 

Ae ee a

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHAD F. WOLF, Putative Acting Secretary, United States Department of Homeland
Security
c/o Office of the General Counsel
U.S. Department of Homeland Security
Washington, D.C. 20528

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Julie Carpenter
TAHIRIH JUSTICE CENTER
6402 Arlington Boulevard, Suite 300
Falls Church, VA 22042

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-00846-RJL Document 3-4 Filed 03/27/20 Page 14 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

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Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
